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                                              No. 23-1078

                                                  IN THE
                          United States Court of Appeals
                              for the Fourth Circuit
                                               ______________
                         B.P.J., by her next friend and mother, HEATHER JACKSON,
                                                         Plaintiff-Appellant,
                                                      v.
        WEST VIRGINIA STATE BOARD OF EDUCATION, HARRISON COUNTY BOARD OF EDUCATION,
        WEST VIRGINIA SECONDARY SCHOOL ACTIVITIES COMMISSION, W. CLAYTON BURCH in his
        official capacity as State Superintendent, DORA STUTLER in her official capacity as Harrison
                         County Superintendent, and THE STATE OF WEST VIRGINIA,
                                                         Defendants-Appellees,
                                                     and
                                             LAINEY ARMSTEAD,
                                                          Intervening Defendant-Appellee.
                                             _______________
                           On Appeal from the United States District Court
                    for the Southern District of West Virginia, No. 2:21-cv-00316
                                    Honorable Joseph R. Goodwin
                                          _______________
          MOTION OF NATIONAL WOMEN’S LAW CENTER AND 51 ADDITIONAL
           ORGANIZATIONS TO FILE BRIEF OF AMICI CURIAE IN SUPPORT OF
                                    PLAINTIFF-APPELLANT
                                          _______________
         FATIMA GOSS GRAVES                           JESSICA L. ELLSWORTH
         EMILY MARTIN                                 Counsel of Record
         SUNU CHANDY                                  KAITLYN A. GOLDEN
         SHIWALI PATEL                                DEVIN M. URNESS
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                         MOTION TO FILE AMICI CURIAE BRIEF

              Pursuant to Federal Rule of Appellate Procedure 29(a)(3), amici curiae

        National Women’s Law Center, A Better Balance, American Federation of

        Teachers, Anti-Defamation League, Autistic Self Advocacy Network, California

        Women's Law Center, Center for Women's Health and Human Rights, Suffolk

        University, Clearinghouse on Women’s Issues, Collective Power for Reproductive

        Justice, Desiree Alliance, Equal Rights Advocates, Equality California, Equity

        Forward, Family Equality, Feminist Majority Foundation, FORGE, Inc., Gender

        Justice, Gibbs Law Group, Girls for Gender Equity, GLBTQ Legal Advocates &

        Defenders, GLSEN, Human Rights Campaign Foundation, If/When/How:

        Lawyering for Reproductive Justice, KWH Law Center for Social Justice and

        Change, Lawyers Club of San Diego, Medical Students for Choice, NARAL Pro-

        Choice America, National Association of Social Workers, National Center for

        Lesbian Rights, National Crittenton, National Organization for Women Foundation,

        National Women’s Political Caucus, Oasis Legal Services, Physicians for

        Reproductive Health, Planned Parenthood South Atlantic, Progress Florida, Public

        Counsel, Public Justice, Religious Coalition for Reproductive Choice, Reproductive

        Health Access Project, SIECUS, SPARK Reproductive Justice NOW, Squire Patton

        Boggs US LLP, Stop Sexual Assault in Schools (SSAIS), The Women’s Law Center

        of Maryland, Tom Homann LGBTQ+ Law Association, Washington Lawyers’



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        Committee for Civil Rights and Urban Affairs, Women Lawyers Association Los

        Angeles, Women Lawyers On Guard Inc., Women’s Bar Association of the District

        of Columbia, Women's Law Project, and WV FREE (West Virginia Focus:

        Reproductive Education and Equity) move for leave to file the attached brief amicus

        curiae in support of Plaintiff-Appellant.

              Plaintiff-Appellant, Defendants-Appellees West Virginia State Board of

        Education, Harrison County Board of Education, W. Clayton Burch, Dora Stutler,

        and the State of West Virginia, and Intervenor-Defendant-Appellee Lainey

        Armstead have all consented to the filing of this amicus brief. Defendant-Appellant

        West Virginia Secondary School Activities Commission has stated that it takes no

        position on the filing of this brief, and thus, amici file this motion to seek leave.

              I.     Interests of Amici Curiae.

              This brief is filed by amici National Women’s Law Center (“NWLC”) and 51

        additional organizations committed to gender justice, including the rights of lesbian,

        gay, bisexual, transgender, queer, and intersex (“LGBTQI”) individuals, and to

        protecting women and girls from discrimination, including women and girls of color

        from discrimination on the basis of race and sex.

              Lead amici NWLC is a nonprofit organization that fights for gender justice—

        in the courts, in public policy, and in our society—working across issues that are

        central to the lives of women and girls—with a particular focus on women and girls


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        of color, LGBTQI people, and low-income women and families. Since 1972, NWLC

        has worked to secure equal opportunity in education for women and girls through

        full enforcement of the U.S. Constitution, Title IX of the Education Amendments of

        1972 (“Title IX”), 20 U.S.C. § 1681 et seq., and other laws prohibiting sex

        discrimination.

              NWLC, along with many other amici, has participated as counsel or amicus

        curiae in cases before the Supreme Court and federal courts of appeal to secure equal

        treatment and opportunity based on sex, including in cases related to the

        participation of transgender students in school athletics, see, e.g., Hecox v. Little,

        No. 20-35813, 2023 WL 1097255 (9th Cir. Jan. 30, 2023); A.M. by E.M. v.

        Indianapolis Pub. Sch. & Superintendent, No. 22-2332, 2023 WL 371646 (7th Cir.

        Jan. 19, 2023); Soule by Stanescu v. Connecticut Ass’n of Sch., Inc., 57 F.4th 43 (2d

        Cir. 2022), and to the other policies concerning transgender individuals, see Adams

        by & through Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791 (11th Cir. 2022);

        Corbitt v. Taylor, No. 21-10486 (11th Cir. filed Feb. 12, 2021). NWLC has long

        worked for the full enforcement of Title IX, and seeks to ensure that all individuals,

        including LGBTQI individuals, enjoy strong legal protections against sex

        discrimination.

              NWLC and the additional amici have a shared interest in ensuring that

        protections against sex discrimination include protections for LGBTQI students. As


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        a group of organizations, amici are dedicated to ensuring that all women and girls

        are protected from discrimination based on sex stereotypes, particularly women and

        girls of color who face heightened discrimination based on race and sex. Amici

        include organizations that are experts in securing protections against sex

        discrimination, including under Title IX and the U.S. Constitution, and advocating

        for the rights of LGBTQI people, including in educational settings.

              II.    Why the Amici Curiae Brief is Desirable and the Matters Asserted
                     Are Relevant to the Disposition of the Case.

              The attached brief outlines the harm West Virginia House Bill 3293

        (“H.B. 3293”) will continue to have on all women and girls in violation of Title IX

        and the Equal Protection Clause. The brief also details how H.B. 3293 will harm not

        only women and girls who are transgender, but will also harm women and girls who

        are intersex, and Black and brown women and girls.

              Amici submit this brief to make clear to the Court that organizations

        committed to women’s and girls’ rights firmly recognize that gender equity in

        schools requires equal access to participation in athletics for transgender women and

        girls.1 Amici reject a framework that incorrectly assumes that the rights of cisgender


        1
          See, e.g., Letter from NWLC et al. to Senate Judiciary Comm., Statement of
        Women’s Rights and Gender Justice Organizations in Support of the Equality Act,
        (Mar. 16, 2021), https://nwlc.org/resources/statement-of-womens-rights-and-
        gender-justice-organizations-in-support-of-the-equality-act-2/; NWLC et al.,
        Statement of Women’s Rights and Gender Justice Organizations in Support of Full
        and Equal Access to Participation in Athletics for Transgender People (Apr. 9,

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        and transgender women and girls are pitted against each other in sports and

        elsewhere.

              III.   CONCLUSION

              For the foregoing reasons, the Court should grant the motion for leave to file

        a brief amicus curiae.

        April 3, 2023                                Respectfully submitted,

                                                     /s/ Jessica L. Ellsworth

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        2019),     https://nwlc.org/wp-content/uploads/2019/04/Womens-Groups-Sign-on-
        Letter-Trans-Sports-4.9.19.pdf.


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                                 CERTIFICATE OF SERVICE

              I certify that on April 3, 2023, the foregoing was electronically filed with the

        Clerk of the Court for the United States Court of Appeals for the Fourth Circuit by

        using the appellate CM/ECF system. All counsel of record are registered CM/ECF

        users, and service will be accomplished by the appellate CM/ECF system.

                                                              /s/ Jessica L. Ellsworth

                                                              Jessica L. Ellsworth
                                                              Counsel for Amici Curiae
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                               CERTIFICATE OF COMPLIANCE

              The foregoing brief complies with the type-volume limitations in Federal

        Rule of Appellate Procedure 27(d)(2)(A) because it contains 945 words, excluding

        those parts of the motion exempted by the rules.

              This motion complies with the typeface requirements of Federal Rule of

        Appellate Procedure 32(a)(5) and the typestyle requirements of Federal Rule of

        Appellate Procedure 32(a)(6) because it has been prepared in a proportionally spaced

        typeface using Times New Roman 14-point font.



        Dated: April 3, 2023                                  /s/ Jessica L. Ellsworth

                                                              Jessica L. Ellsworth
                                                              Counsel for Amici Curiae
